              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                         NO. 3:19 – MJ - 38



UNITED STATES OF AMERICA                         )
                                                 )      NOTICE OF
     v.                                          )      UNAVAILABILITY
                                                 )
OSCAR RANGEL-GUTIERREZ                           )
_______________________________________          )



       NOW COMES Defendant, by and through Undersigned Counsel, and
requests that the Court not schedule for hearings in the instant case on February
20 – 22, 2019 due to personal and/or professional conflicts.

       This the 14TH day of February, 2019.



                                          Respectfully submitted,

                                          s/Rob Heroy______
                                          Rob Heroy Bar No. 35339
                                          Attorney for Defendant
                                          Goodman Carr, PLLC
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                         CERTIFICATE OF SERVICE


      I certify that I have served the foregoing NOTICE OF UNAVAILABILITY

on opposing counsel, via ECF, addressed to:

             Steven Kaufman                   William Thomas Bozin
             Assistant U.S. Attorney          Assistant U.S. Attorney

      This the 14TH day of February, 2019.




                                        Respectfully submitted,

                                        s/ W. Rob Heroy
                                        W. Rob Heroy
                                        Bar No. 35339
                                        Attorney for Defendant
                                        Goodman Carr, PLLC
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